Case 1:94-cv-00892-JEC-LFG Document133 _ Filed 12/23/96 Page 1 of 25

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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW MEXICO

ages

! CARL WILSON, an individual,
| and AUDREE WILSON, an
Individual,

Case No. CIV 94 892 JC

Plaintiffs,

Vv.

HARPERCOLLINS PUBLISHERS,
INC., a Delaware corporation,

Defendant.

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PLAINTIFFS' RESPONSE TO HARPERCOLLINS' MOTION FOR PRECLUSION
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ORDER _UNDER RULE 37(c) (1) FOR FAILURE TO COMPLY WITH RULE
26(a) (2) CONCERNING DISCLOSURE OF EXPERT REPORTS;

DECLARATIONS OF BETH F. DUMAS, ESQ. AND JEANNE LOGE

DEC 12 96 14:94 P.3/14
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1. PRELIMINARY STATEMENT: LIMITED SCOPE OF MOTION .... 1
2. FACTS . 2 ee eee eee ee eee ee we ee eee ed OUD
3. THE EXPERT REPORT OF MARILYN LASHNER, Ph.D. ..--+--+ ++ 2

“4. MARK KAPLAN‘'S EXPERT REPORT .- - see - 7 ee es ee 3
_§, EXPERT PRECLUSION IS TOO HARSH A SANCTION ....-.-+ 4

6. EXPERT BARRY FEY... .-. eee eee eee ee ee ee 6

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1. PRELIMINARY ST ELIMI OPE OF MOTIO

The instant Motion is limited in scope. Although
Defendant ‘s Motion includes commentary to the effect that the
‘expert testimony of Marilyn A. Lashner, Ph.D is not a proper
subject of testimony, Defendant’s counsel has confirmed
‘(following a conference with Magistrate Garcia) that this
challenge is not properly before the Court on the instant motion.

‘plaintiffs disagree with Defendant’s assertions regarding
admissibility, but Plaintiffs will wait to provide the Court with
arguments and authority until Defendant makes its motion on the
matter. so that Plaintiffs are not prejudiced, Plaintiffs
respectfully ask the Court to ignore Defendant’s comments
regarding the asserted inadmissibility of her testimony, which
appear to have been added for color.

This preliminary statement is being made with the knowledge
of Defendant's counsel (William Dixon), who has advised that
Defendant will in its reply brief confirm the limited nature of

the instant motion.
2. FACTS

There is no dispute that on November 15, 1996 (the deadline
for Plaintiffs’ expert designation) that Plaintiffs timely
designated experts Marilyn Lashner, Ph.D, Mark Kaplan, CPA, and
Barry Fey, and provided expert reports (or in the case of Mr.
‘Kaplan and Mr. Fey declarations encompassing the expert’s

report). ‘The day before filing the instant motion, Defendant ‘s

counsel advised that Defendant considered the disclosure of

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expert reports to be deficient, and request. was made for
supplementation. Immediately thereafter, Plaintiffs asked the
experts. to supplement their reports. Supplementation of Dr.

Lashner‘s and Mr. Kaplan’s reports have been made.

3.
With regard to Dr. Lashner, Defendant asserts that her

original report and coding manual did not identify with
sufficient specificity the passages Dr. Lashner examined for
context and theme. Plaintiffs cured this by obtaining from the
expert and serving on Defendant on November 26, 1996, Dr.
Lashner's working papers which identify all the particular
- passages she reviewed for context and theme. Her accompanying
declaration also identified all the cases in which she gave
: deposition or trial testimony in the past four years. This
submission on November 26, 1996 cured the asserted deficiencies.
. (Dumas Decl., | 2, attached hereto).
In addition, Dr. Lashner prepared an all-encompassing
affidavit, with a format that highlights the disclosure
‘ requirements for expert disclosure under Rule 26(a)(2), for ease
of reference by all. Her new affidavit, lodged herewith and.
served on Defendant on December 3, 1996 (Dumas Decl., { 2,
' attached), contains no new opinions, but reiterates her opinions
and the bases therefore from the original timely served report
and coding manual, which are attached as Exhibits to the
affidavit, along with her working papers, and other materials

(including her timesheets) .

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The other deficiency cited by Defendant concerns Dr.
Lashner’s prior publications. This information was already set
forth in the curriculum vitae served with original report. Thus,
all the difficiencies asserted by Defendant have been addressed.
4.. ‘gs TR

Plaintiffs have designated CPA Mark Kaplan to provide expert
testimony on the subject of the decrease in the Beach Boys‘
touring revenue and merchandising revenue since publication of
the Book. Mr. Kaplan’s analysis is strictly an accounting
analysis. Mr. Kaplan’s opinion respecting the decrease in
touring revenue is based on calculations of various averages that
were set forth in his original declaration (which served as his
report), which was timely served on November 15, 1996. Mr.
Kaplan’s original declaration also sets forth the per year
decrease in touring revenue based on the calculations.

The deficiency asserted by Defendant is that the accounting
records he relied on were not attached to his declaration. A
supplemented declaration of Mr. Kaplan (lodged herewith and
served on December 11, 1996) cures this by attaching the
accounting records. Mr. Kaplan’s supplemented declaration also
provides a schedule summarizing the revenue figures reflected on
those accounting records, and includes more explanation as to how
the averages stated in his original declaration were calculated.
Like Dr. Lashner’s affidavit, Mr. Kaplan’s supplemented
declaration contains headings that highlight the requirements for

expert disclosure in Rule 26(a)(2). Mr. Kaplan’s supplemented

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declaration also discloses the fact that he has not served as an
expert in the past four years and he has not authored any
publication in the last ten years.

The other subject on which Mr. Kaplan is being designated to
provide expert testimony is the decrease in merchandising
revenues since publication of the Book. When Mr. Kaplan
submitted his original declaration his analysis respecting
merchandising revenues was not at that time complete. Mr.
Kaplan’s supplemented declaration provides a schedule of

merchandising revenues in pre-publication and post-publication

years, and attaches the accounting records from which he derived

the figures set forth on the schedule. Thus, the disclosure of

| Mr. Kaplan's expert. testimony is now complete in all respects.

Defendant makes mention of the fact that it was disclosed
that Mr. Kaplan will testify as both an expert and lay witness.
This is because as the Beach Boys’ current accountant, Mr. Kaplan
has personal knowledge of accounting material and will
undoubtedly be asked to provide lay witness testimony relating to
the Beach Boys’ accounting records and the revenues they have
received in recent years.

5. ERT PR 8 TOO CTION

The Federal Rules contemplate that an expert’s testimony

will not be barred for insufficient diclosure unless there is a

showing of prejudice to the opposing party, and consideration by

_the Court of the potential for curing the breach by the granting

of a continuance. See, in dron Community Hospital, et

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al., 163 F.R.D. 565 (D.C. Nebr. 1995) (holding that sanction of
preclusion for incomplete report was "too harsh"); n Vv.
Ballymore Co,, 1991 U.S. Dist. LEXIS 18579, at page *6 (N.D.N.Y.
1991), copy attached hereto (holding that exclusion is an unduly
harsh sanction, where evidence sought to be excluded is critical
te the case, and the plaintifes have now fully complied). See

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' F.R.D. 61, 66 (N.D. Ind. 1996) (suggests that opportunity for
cure by supplementation be provided following meet and confer, in
lieu of preclusion). See also, F.R.C.P. 26 subsec. (c) (1)
(imposing duty to supplement incomplete or incorrect material
aspects).

Here, Plaintiffs submit that any prejudice to Defendant with
respect to the expert witness reports of Dr. Lashner and Mr.
Kaplan have been cured by the supplemental disclosures, and by
the. fact that Defendant’s expert witness disclosure deadline was
continued from December 15, 1996 to January 6, 1997 by Magistrate
Garcia. |

In addition, Defendant‘s counsel has requested Plaintiffs’
agreement to an extension of the discovery cut-off to April 18,
1997, in view of the substantial third party discovery that needs
to be conducted and in view of the time consuming nature of
Defendant's efforts to date in obtaining discovery from third
parties. Plaintiffs have agreed to the continuance of the
discovery cut-off requested by Defendant, and a Joint Proposal

Por Extension of Discovery Deadlines was filed on December 9,

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1996, While the request for the extension was occasioned by
circumstances attendant to third party aiscovery, rather than
expert witness matters, the continuance of the discovery cut-off
aiso serves to remove any prejudice.

6. EXPERT BARRY FEY

Mr. Fey is an expert on the subject of concert promotion.
Plaintiffs are admittedly in an awkward situation with regard to
Mr. Fey.

The asserted deficiency with Mr. Fey’s report (which is
contained in his declaration), is that it does not adequately
specify the communications with disc jockeys and others in the
music business which form the basis of his opinions. Plaintiffs
have requested supplementation of Mr. Fey’s declaration, and
discussions with Mr. Fey’s office have disclosed that the basis
for Mr. Fey’s opinions are recollection of conversations he has
had with the disk jockeys over the years, some of whose names he
does not recall, and his regular practice of monitoring radio
play to determine popularity, as part of ongoing market research
for his concert promotion business (Dumas Decl., ¢ 4, attached).
However, Plaintiffs have been unable to obtain a supplemental
declaration from Mr. Fey to this effect, with more detail as to
the conversations, despite making repeated requests. (Dumas
Decl., ¢ 4 and Logé Decl. 4§ 4-10, attached). Both Mr. Fey’s
assistant (Molly Helbig) and his attorney (Michael Carrington,
Esq.) have advised Plaintiffs that Mr. Fey has been unable to

provide a supplemental declaration because of illness, but that

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Mr. Fey should be able to do so in January. (Dumas Decl., { 4).
Accordingly, leave for additional time for Mr. Fey to provide a
supplemental declaration is requested.

In the alternative, Plaintiffs suggest that Defendant take
Mr. Fey’s deposition. Rule 26 does not preclude a party "from
using traditional discovery methods to obtain further
information...," Advisory Committee Notes to 1993 Amendments to
‘Rule 26, and it is likely that no matter how specific a report
Mr. Fey provides, Defendant will want to cross~examine Mr. Fey
before trial respecting his recollections of communications and
air play monitoring that form the bases for his opinions.

While the situation is not ideal, the Court is asked to
consider the harshness of the sanction of preclusion, and the
fact that while a party retains an expert, that expert is an
independent person. Additionally, Mr. Fey is a working concert
promoter, not experienced in providing written expert reports.

To ameliorate the prejudice to Defendants, Plaintiffs offer
to pay reasonable costs associated with the taking of Mr. Fey’s
deposition in Greenwood Village, Colorado, and to share in the
fee charged by Mr. Fey for providing deposition testimony
($250.00 per hour). Defendant’s counsel (Katherine Daniels) has
advised that Defendant intends to take other depositions in
Colorado, including that of Plaintiff Carl Wilson’s wife Gina
Wilson.

Given that the deadline for expert witness disclosure has

passed, Plaintiffs feel that they must work with Mr. Fey in order

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not to be severely prejudiced. In the alternative, Plaintiffs

request leave to designate a substitute expert on concert

promotion by January 15, 1997, and provide an expert report by
that date. |

DATED: December 12, 1996 Respectfully submitted,

LANGBERG, COHN & DROOZ |

Beth F. Dumas
12100 Wilshire Boulevard
Suite 1650
Los Angeles, California 90025
(310) 979-3200 _-—

THE ROMERO LAW FIRM

3602 Campus Boulevard, N.E.
Albuquerque, New Mexico 87106
(505) 262-2131

Attorneys for Plaintiffs

|
- and -
. Ernesto J. Romero
CARL WILSON and AUDREE WILSON

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IN THE UNITED STATES DISTRICT COURT
‘FOR THE DISTRICT OF NEW MEXICO

CARL WILSON, an individual, Case No. CIV 94 892 JC

and AUDREE WILSON, an
individual, —
Plaintiffs,
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HARPERCOLLINS PUBLISHERS,
INC., a Delaware corporation,

Defendant.

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I, Beth F. Dumas, declare as follows:

1. ‘This declaration is based on personal. knowledge, except
as otherwise stated, and if called as a witness I could and would
‘competently testify to the facts stated herein.

2. On November 25, 1996, Defendant was served with the
working papers of expert Marilyn Lashner, Ph.D, and a listing of
all the cases in which she provided expert deposition or trial
testimony in the past four years. (Cover letter to Defendant’s
counsel is attached.) The service of these materials cured the
deficiencies asserted by Defendant. Thereafter a supplemented
(and reformatted) affidavit of Dr. Lashner was served, with

“headings that conform to the requirements of the Rule 26(a) (2),

to ensure against procedural attack, and for ease of reference

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for the Court and opposing counsel. The text of the affidavit
does not contain any new opinions, but summarizes the opinions
stated in her original report, and attaches as exhibits her
original report, coding manual, working papers and other
potentially relevant materials (such as her timesheets). This
affidavit (which Plaintiffs now lodge with the Court) was served
on Defendant on December 3, 1996 via Federal Express.

3. The supplemented declaration of Mark Kaplan (which
Plaintiffs now lodge with the Court) was served on Defendant on
December 11, 1996 via Federal Express.

4. I have been diligently endeavoring to obtain a
supplemental declaration/report from expert Barry Fey. In
November and December both myself and the paralegal Jeanne Logé
have made numerous calls to his office, and sent letters to his
home and office, to request additional information regarding the
basis for his expert opinion, but he has not responded. Since
November 13, I have only been able to speak with Mr. Fey’s
assistant (Molly Helbig), and his attorney (Mike Carrington,

(303) 804-5355). Mr. Fey’s assistant initially advised me that he

’ was unavailable due to concert promotion business, and then later

that he was unavailable because of illness. After sending a dire
letter to Mr. Fey, I was contacted by his attorney, Mr.
Carrington, who advised that Mr. Fey could not provide a
supplemental declaration because of illness. I again spoke to
Mr. Carrington on December 12, and he again apologized for the

situation, and advised that it was expected that Mr. Fey could

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provide a supplemental declaration in January. This situation is

unsatisfactory to me, but as the deadline for designation has
passed, I feel I must continue to work with Mr. Fey as an expert,
- unless the Court provides leave for Plaintiffs to designate a
' @ifferent expert on the subject of concert promotion by January
15, 1997. With regard to Mr. Fey, I propose that in addition to
or in lieu of a supplemental declaration, that Mr. Fey‘s
deposition be taken. The reason is that my conversations with
Mr. Fey’s assistant (and the reports I have received from the
paralegal who works with me, Jeanne Logé, of her conversations
with Mr. Fey’s assistant), disclose that the basis for Mr. Fey’s
opinions are recollections of comments he has heard various disc
. jockeys make, and Mr. Fey's long-time practice of monitoring
radio air play as market research for his concert promotion
business. Because these are matters of recollection, Defendant
‘will undoubtedly want to take Mr. Fey’s deposition, no matter how
much specificity he provides in a supplemental declaration. To
ameliorate the prejudice to Defendant, Plaintiffs offer to pay
the reasonable costs associated with the taking of Mr. Fey’s
deposition, and share in payment of the fee Mr. Fey charges for
deposition testimony ($250.00 per hour). Defendant’s counsel
(Katherine Daniels) has advised that Defendant will be taking
other depositions in Colorado, including that of Plaintiff Carl
Wilson's wife.
Executed this 12th day of December, 1996, at Los Angeles,

California.

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‘I declare under penalty of perjury under the laws of the
United States of America, the State of California, and the State

of New Mexico that the foregoing is true and correct.

hin fla

BETH F. DUMAS

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. LAW OFFICES OF
LANGBERG, COHN & DROOZz

TELEPHONE. AN ASSOCIATION INCLUDING A FROFESSIONAL CORPORATION

(220)979-9200 4. WILLIAM HAYES

, (4921-2992)
12100 WitsHirneg BOULEVARD
YELECOPTER Suits 1650 OF COUNSEL:

(310)979-3220 . PETER C. RICHARDS
Los ANGELES, CALIFORNIA 90025 GILBERT GAYNOR

JEANNE LOGE
PARALEGAL
(310) 970.3231

November 26, 1996

‘VIA FEDERAL EXPRESS

R. Bruce Rich, Esq.
Weil, Gotshal & Manges
767 Fifth Avenue

New York, New York 10153

William S. Dixon, Esq.

Rodey,. Dickason, Sloan,

Akin & Robb, P.A.

Albuquerque. Plaza

201 Third Street NW, Ste. 2200
Albuquerque, New Mexico 87103

Re: Carl Wilson and Audree Wilson v. HarperCollins

Dear Gentlemen:

Pursuant to the request of Beth Dumas, enclosed please find

a copy of the Declaration of Marilyn A. Lashner, Ph.D. and a copy

of the docmentation utilized in preparation of Dr. Lashner’s
report.

Very truly yours,

inne b Sogee

Jeanne A. Logé
‘Legal Assistant

Enclosures

cc: Beth F. Dumas, Esq.
Ernesto. J. Romero, Esq.

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. Media Analy® &
-~Communications Research

. Marilyn a, Lashner, PhD

November 25, 1996

Beth F. Dumas, Esquire

' Langberg, Cohn & Drooz

- 12100 Wilshire Boulevard Suite 1650
Los Angeles, California 90025

Re: Wilson, et al. vs. HarperCollins

Dear MS. Dumas:
at your request, I am forwarding the following documents:
. a) Declaration that I Read the Book
b) Passages Identified in Plaintiff’s Complaint
¢) Assertion Sheets
1) Focusing on Audree Wilson .

2) Focusing on Carl Wilson
d) Tally of Named References: By Landy; By Beach Boys
e) Tally of Assertions
£) Lexicon of Significant Words Used in Book
g) Notes of Telephone Converstion with APA
h) Passages Not Identified as Part of Suit

i) comments Regarding Dr. Landy

1341 Gilbert Road.
Meadowbrook, PA 19046
(215) 884-4331

Enclosed win Dumas lett of Weng.
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3) Pertinant Documents relied on:

1} Ethical Standards of American Psychological
Association: 1972; 1977; 1979; 1981

2) Drafting California Revocable Living Trusts

3) Criminal Statute Citations re Child Abuse

4) Criminal Statute Citations re Import of
Prohitited Substances in New Zea land.

See my Coding Manual for the key to understanding my
assertion sheets. If there are any questions or if there is any
more information needed, Please don’t hesitate to telephone.

Sincerely yours,

Ylanlyn 0. hakras-

Marilyn A. Lashner, Ph.D.

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© LAW OFFICES OF
LANGBERG, COHN & DROOZ

TELEPHONE AN ASSOCIATION INCLUDING A PROFESSIONAL CORPORATION J. WILLIAM HAYES
(310)979-3200 (1921. 1992)
12100 Witsuine Boutevaro
(alone Suite 1650 PETER C. RICHARDS
: Los ANGELES, CALIFORNIA 90025 GILBERT GAYNOR

BETH F. OuMAS
(910) 979-9235

December 3, 1996

VIA FEDERAL EXPRESS

Katherine J. Daniels, Esq.
Weil, Gotshal & Manges
767 Fifth Avenue

New York, New York 10153

Re: — Vv. Ha Collins
Dear Katherine:

Enclosed please find the Affidavit of Marilyn A. Lashner,
Ph.D, dated December 2, 1996 which is organized to contain
headings and other information that comports with the rule
respecting expert witness reports. You will note that attached
to the affidavit is the report and coding manual previously
served on November 15 (the only change is that Dr. Lashner has
again signed the documents and had her signature notarized) ;
attached as Exhibits C-R as the documentation utilized in the
preparation of Dr. Lashner’s report, which documentation was
previously served to Defendant via Federal Express on November
26, 1996; enclosed as Exhibit R is the declaration of Marilyn A.
Lashner, Ph.D, dated November 25, 1996, which was previously
served on Defendant via Federal Express on November 26, 1996;
Exhibit O contains newly served documents (timesheets and
invoice); and Exhibit Q is Ms. Lashner’s curriculum vitae (much
of the information contain therein was provided in Ms. Lashner’s
previously served declarations).

If you have any questions, please call.
Very trul ours,
y Y your
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a te ee
Beth F. Dumas
BFD:myn

Enclosures
cc: William S. Dixon, Esq. (via Federal Express)

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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW MEXICO

‘CARL WILSON, an individual, Case No. CIV 94 892 3c

and AUDREE WILSON, an
individual,
Plaintiffs,
Vv.

HARPERCOLLINS PUBLISHERS,
INC., a Delaware corporation,

Defendant. °

DEC JEANNE LO

I, JEANNE LOGE, declare as follows:

1. I. am a legal assistant in the firm of Langberg, Cohn &
Drooz, counsel of record for Plaintiffs Audree Wilson and Carl
Wilson. I assist Beth Dumas on this case. I have personal
knowledge of the facts set forth and I could and would testify
competently thereto.

2.- This Declaration is offered in support of Plaintiffs’

- Response to Defendant’s Motion for Preclusion Order Under Rule 37
(c) (1) for Failure to Comply With Rule 26 (a) (2) Concerning

Disclosure of Expert Reports.

3. I have been in contact with our expert witnesses, Mark

Kaplan, Marilyn Lashner and the office of Barry Fey to secure

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Case 1:94-cv-00892-JEC-LFG Document133 Filed 12/23/96 Page 50 of 5

additional information for their expert witness reports. I have
received reports from Dr. Lashner and Mr. Kaplan.

4. In order to secure the additional report of Mr. Fey, I
telephoned and faxed a letter to his assistant Molly Helbig to be
forwarded to Mr. Fey’s home, requesting addition information for
‘a supplemental expert witness report, and advising him that we
needed the information/documentation by December 4, 1996. I then
called Molly to verify that the fax was received and again stated
the importance of receiving the information and documentation
from Mr. Fey by December 4, 1996. I was adviged by Molly that
Mr. Fey was at a meeting out of the office but that she would fax
the letter to Mr. Fey’s home. I have spoken to Mr. Fey's
assistant Molly Helbig on numerous occasions, sometimes as much
as three times a day, since December 2, 1996.

' &§, on December 3, 1996, I called Molly and asked if they
-gent me the requested information and/or documentation and she
‘said that she had not spoken with Mr. Fey, that he had been out
sick.

6. On December 4, 1996, I called Molly and was advised
that she had not spoken to Mr. Fey and that, consequently, they
had not sent us any information. I again stressed the urgency
that I speak to Mr. Fey by the close of business. I advised my
attorney, Beth Dumas, that I was have extreme difficulty reaching
Mr. Fey and that I had been in daily contact with Molly at his
office. Thereafter, Beth Dumas spoke to Molly and I believe was

advised that Barry Fey had been ill and had not been in the

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Case 1:94-cV-00892-JEC-LFG Document 133 Filed 12/23/96 Page 31'6f 25

office or in contact with the office. Beth again stressed the
urgency that we receive the information from Mr. Fey.

7. On December 9, 1996, I again called Molly and stressed
the urgency that I receive a return call from Mr. Fey. Shortly
before noon that day, I called Molly again and she advised me

that Mr. Fey was home ill and she would try to contact him at

home.
8. On December 2, 1996, I faxed a letter authored by Beth

pumas to Mr. Fey’s home, which (again) requested additional
information and documentation, and stressed the urgency of a
telephone conference to discuss the matter in detail.

9. I did not receive a call on December 9, 1996, sol
faxed the letter to Molly on December 10, 1996 asking that she

forward the letter to Mr. Fey.
. 10. I am aware that on December 10, 1996, Beth Dumas was

contacted by attorney Mike Carrington of Denver, Colorado, on
behalf of Mr. Fey. However, I am unaware of the conversation
that took place other than what I heard Beth discussing, being
that we needed certain information and documentation. I believe
that Beth was told that Mr. Fey had been home ill for some time
and I heard Beth request a doctor’s note to substantiate the
duration of Mr. Fey’s illness.

Executed this 12th day. of December, 1996, at Los Angeles,

California.

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1 declare under penalty of perjury under the laws of the
United States of Anerica, the State of California, and the State

of New Mexico that the foregoing is true and correct.

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3RD CASE of Level 1 printed in FULL format.

JUDY H. DUNBAR and- WARREN DUNBAR, Plaintiffs, v. BALLYMORE COMPANY, Defendant.
BALLYMORE COMPANY, Third Party Plaintiff v. ONEIDA LT D., Third Party Defendant.

88-CV-108

UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF NEW YORK

1991 U.S. Dist. LEXIS 18579

December 18, 1991, Decided

December 19, 1991, Filed

COUNSEL: [*1] APPEARANCES:

ANTHONY P. ENDIEVERI, Attomey for Plaintiffs,
5016 West Genesee Street, Camillus, New York 13031

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Defendant/Third Party Plaintiff, 800 First Federal
Plaza, Rochester, New York 14614-1999, WILLIAM
G. GANDY, ESQ.

BOND, SCHOENECK & KING, Attorneys for Third
Party Defendant, One Lincoln Center, Syracuse, New
York 13202, JOHN H. CALLAHAN, ESQ,

JUDGES: MUNSON
OPINIONBY: HOWARD G. MUNSON

OPINION: MEMORANDUM-DECISION & ORDER

Pursuant to Rule 37 of the Federal Rules of Civil
Procedure, defendant/third party plaintiff moves for
sanctions in the form of the exchusion of all expert testi-
mony on plaintiffs’ behalf and reasonable costs, includ-
ing attorney's fees, based on plaintifts’ failure to obey a
discovery order. For the reasons stated below, the court
denies the motion to the extent that it seeks exclusion
of expert testimony at trial, but grants defendant rea-
sonable costs, including attormey‘s fees, associated with
bringing the motion. The court further orders plaintiffs
to pay defendant's reasonable costs incurred in deposing
plaintiffs’ expert witness.

1. FACTS

‘This is a products liability case. On March 16, 1987,
plaintiff Judy Dunbar allegedly injured [*2] her lett knee
when she fell off a four-step, rolling, metal stepladder

which was designed, manufactured, and sold by defen-
dant Ballymore.

The present dispute focuses on Question 17 of de-
fendant’s second set of interrogatories, served on plain-
tiffs on June 22, 1990. Question 17 sought the iden-
tity of plaintiffs’ expert witness, as well as relevant
facts known, and opinions held, by the expert. Exhibit
(“Exh.") A attached to Document ("Doc.") 30, at 14-
{5. Plaintiffs failed to respond to Question 17, which
compelled defendant to obtain a court order directing,
inter alia, plaintiffs to furnish their expert disclosure by
August 12, 1991. Defendant's Motion for Sanctions,
Attached to Doc. 30, at Pd. Paragraph three of the June
11, 1991 Order states that “the plaintiff shall furnish her
expert disclosure to the defendant within 60 days of the
entry of this order.” Exh. C attached to Doc. 30, at
2. Upon the request of plaintiffs, the parties agreed to
4 one month extension of the deadline until September
11, 1991. On that date, defendant received a letier from
plaintifts’ counsel stating that he intended to use Paul F.
Youngdah! as his liability expert, and that he would send
{*3] supplemental answers to defendant's interrogatories
forthwith. Exh. F attached to Doc. 30. In Tesponse
to this fetter, defendant's counsel notified plaintiffs on
September 12, 1991 that the mere disclosure of the pro-
posed expert's name did not comply with the court's
June 11, 1991 Order and asked when the supplemental
answers could be expected. Exh. G attached to Doc.
30. On September 27, 1991, plaintiffs’ counsel told de-
fendant’s counsel by telephone that the expert disclosure
would be forthcoming, 10 which defendant stated that he
would not agree to an extension of time. Defendant's
Mowon for Sanctions, Attached to Dac. 30, at P9. After
plaintiffs’ counsel again failed to produce the expert dis-
closure, defendant filed the present motion pursuant to
Fed. R. Civ. PB. 37 on October 4, 1991. Detendant
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seeks an order excluding the introduction of any and all

expert testimony on plaintiffs’ behalf, and also seeks at-

torney’s fees and costs incurred by defendant in bringing
the motion,

On October 10, 1991, six days after defendant's mo-
tion for sanctions and costs was filed, plaintiffs filed a
Supplemental answer to the defendant's interrogatories,
outlining the topics Mr. Youngdahl [*4] would address
at trial. See Doc. 32. On October 29, 1991, plaintiffs
-filed a response to defendant's motion for sanctions, ar-
guing that exclusion of all expert testimony would be
unduly prejudicial, especially in light of the fact that the
discovery deadline has been extended to' December 31,
1991, and that no dates have been set ‘for the final pre-
trial conference or trial. Furthermore, plaintiffs argue
that the court order mandating "expert disclosure” was
ambiguous, and that their action in submitting the name
of the expert on September 11, 1991 was sufficient to
camply with the order.

Il. DISCUSSION

Federal Rule of Civil Procedure 37(b)(2)(B) states
that:

Ifa party. . . fails to obey an order to provide or
permit discovery, including an order made under subdi-
vision (a) of this rule . . ., the court in which the action
is pending may make such orders in regard to the fail-
ure as are just, [including] an order refusing to allow the
disobedient party to support or oppose designated claims
or defenses, or prohibiting that party from introducing
designated matters in evidence.

Failure to comply with a court's discovery order clearly
provides a basis for precluding [*5] certain evidence,
including expert testimony. Geiserman v. MacDonald,
893 Fi2d 787, 792 (Sth Cir. 1990) (district court's de-
cision to exclude expert witness testimony in legal mal-
practice case based on plaintiff's failure to designate ex-
perts until two weeks after deadline was not abuse of
discretion); Hagans v. Henry Weber Aircraft Distribs..
In¢., 852 F2d 60, 64-66 (3d Cir, 1988) (precluding
use of substitute pilot expert, in litigation arising from
airplane crash, as. sanction for plaintiff's failure to dis-
. Close that original pilot expert conducted flight test was
proper); Sexton v, Guif Oil Corp., 809 F.2d 167, 170
(Ist Cir, 1987) (trial court properly refused to modify
scheduling order to altow plaintiff's late identification
of experts). However, this court is of the opinion that
where both parties concede that the evidence sought to
be excluded is critical to the case and disclosure of the
evidence, although untimely, ultimately is achieved in

advance of trial, exclusion is an unduly harsh sanction.
Plainly, the expert testimony in this products liability
case is crucial to plaintiffs’ claims. The court does not
[*6] take lightly plaintiffs’ delinquency in complying
with the June £1, 1991 discovery order, nor does it
credit plaintiffs’ assertion that the discovery order was
ambiguous. nl Nevertheless, in view of the fact that
plaintiffs have now fully complied with expert disclo-
sure, the court denies defendant's motion to exclude all
expert testimony on behalf of plaintiffs in this lawsuit.

nl The court notes that plaintiffs never sought
clarification of the June 11, 1991 Order. If they
believed the order was ambiguous, plaintiffs imme-
diately should have sought further instruction trom
the court, rather than pursuing the course of de-
lay revealed in the record on the present motion.
Moreover, even a cursory review of the proceedings
which resulted in the June 11, 1991 discovery order
makes clear that the court was addressing plaintiffs’
failure (o answer Question 17 of defendant's second
set of interrogatories when the court directed “ex-
pert disclosure” to take place. Because Question !7
_Tequesied not only the name of the proposed expert,
but also facts known and opinions held by the expert
relevant to the instant lawsuit, it is ludicrous to argue
that the June 11, 1991 Order directed anything tess
than full compliance with defendant's expert discov-
ery request.

[*7}

The court does, however, grant defendant's motion
to the extent that it seeks reasonable costs and attor-
ney’s fees associated with bringing the instant motion.
The court further orders piaintiffs to pay the reasonable
casts defendant incurs in deposing plaintiffs’ expert wit-
ness. Within the “wide discretion” this court has under
Rule 37(b)(2) to impose reasonable expenses, including
allomey’s fees, on the party failing to obey a discovery
order when no reasonable justification is presented, the
imposition of these costs is a just method of addressing
plainufts failure without the prejudicial effect exclusion
of expert testimony would have on plaintiffs’ case.

Hi. CONCLUSION

{n summary, defendant’s motion is denied to the ex-
tent that it seeks exclusion of all expert testimony on be~
half of plaintiffs at trial, but granted as to the attorney's
fees, cost of bringing the motion, and cost of depos-
ing the expert. Defendant is directed to submit to the
court and to plaintiffs’ counsel a summary of the rea-
sonable costs, including attorney’s fees, it incurred in
filing the present motion. Upon receipt, the court will
DEC 12 ”

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review the summary and issue an order setting forth the
appropriate (*8} amount and directing plaintiffs to make
the required payment. With regard to the deposition
of Mr. Youngdahl, plaintiffs’ expert witness, the. par-
‘ties are directed to negotiate an acceptable arrangement
for payment of defendant's costs in accordance with this
Order.

It is So Ordered.

Dated: December 18, 199!
Syracuse, New York

HOWARD G. MUNSON, SENIOR UNITED
STATES DISTRICT JUDGE
